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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA

_______________________________________
                                          )
Amaplat Mauritius Ltd., et al,            )
                                          )
      Plaintiffs,                         )
                                          )
v.                                        )   Civil Case No. 1:22-cv-00058-CRC
                                          )
Zimbabwe Mining Development               )
Corporation, et al,                       )
                                          )
      Defendants.                         )
_____________________________________




     MOTION TO DISMISS BY THE CHIEF MINING COMMISSIONER OF THE
         MINISTRY OF MINES, THE REPUBLIC OF ZIMBABWE, AND
           ZIMBABWE MINING DEVELOPMENT CORPORATION
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       Defendants, the Chief Mining Commissioner of the Ministry of Mines of Zimbabwe (the

“Commissioner”), Republic of Zimbabwe (“Zimbabwe”), and Zimbabwe Mining Development

Corporation (“ZMDC), by and through their undersigned counsel, hereby moves to dismiss the

Amended Complaint filed by Amaplat Mauritius Ltd. (“Amaplat”) and Amari Nickel Holdings

Zimbabwe Ltd. (“Amari”), and in support thereof, state as follows:

                                         INTRODUCTION

       Despite having another opportunity to make their claims, Plaintiffs have chosen to rely

largely on their own interpretation of the relevant Zimbabwean statutes, news articles devoid of

facts, and contradictory allegations. Other new allegations are bare assertions with no support or

fall outside the relevant time period for the alter ego analysis. Given the extensive time taken to

prepare the Amended Complaint and the guidance provided by this Court, it is increasingly

obvious that there is no substance to Plaintiffs’ allegations. This Court should therefore dismiss

the Amended Complaint with prejudice.

                                    RELEVANT BACKGROUND

       In 2007 and 2008, Plaintiffs, Amaplat and Amari each concluded a memorandum of

understanding (the “MOUs”) with ZMDC to incorporate joint ventures to prospect nickel and

platinum deposits and develop mines. See ECF No. 1-1 at ¶¶ 3-4. The MOUs include arbitration

clauses which permit a party to submit a dispute to the ICC International Court of Arbitration

(“ICC”).

       Invoking the arbitration clauses, Plaintiffs initiated arbitration proceedings against ZMDC

on February 2, 2011. They claimed that ZMDC breached its allegations by attempting to terminate

the MOUs on the grounds of corruption in their making. See id., ¶7. Although the Commissioner




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was not a party to the MOUs, and Plaintiffs made no claim against the Commissioner, it was named

a respondent in the arbitration proceedings. See id., ¶ 2.

       Between September 2011 to October 2011, the ICC constituted an arbitration tribunal

composed of Judge Meyer Joffe, Mr. James Prince Mutizwa, and Mr. Stuart Issacs QC (the

“Tribunal”).

       On January 12, 2014, the Tribunal issued an award in favor of Plaintiffs (the “Award”). It

held that ZMDC’s purported cancellation of the MOUs amounts to a repudiatory breach of the

MOUs, which came to an end with Plaintiffs’ initiation of the arbitration. See id., ¶181. The

Tribunal then ordered ZMDC to pay Plaintiffs damages in the sum of $46,782,000 and interest on

these damages. See id., ¶227. Although the Tribunal did not find the Commissioner liable for the

breach of the MOUs, it ordered it, together with ZMDC, to pay Plaintiffs’ legal costs, expenses,

and arbitration costs in the amount of $3,120,583.74.

       On July 19, 2019, Plaintiffs sought to register and enforce the Award before the Zambian

High Court against ZMDC and the Commissioner. See ECF No. 1-5. The following month, the

High Court issued an ex parte “Order for leave to Register and Enforce the Final Arbitration

Award” (the “Order”). The High Court prohibited Plaintiffs from enforcing the Award until they

served the Order on ZMDC and the Commissioner within 30 days from its issuance. See ECF 1-5

at ¶ 2. To date, Plaintiffs have served neither ZMDC nor the Commissioner.

       On January 10, 2022, Plaintiffs filed a complaint, seeking to enforce the Order under the

D.C. Foreign-Country Money Judgments Recognition Act (the “D.C. Code”) against ZMDC, the

Commissioner, and Zimbabwe (the “Complaint”). They requested this Court: i) to hold all

Defendants jointly and severally liable for the legal costs, expenses, and arbitration fees ordered

in the Award; ii) find ZMDC and Zimbabwe liable for the damages awarded to Plaintiffs in the



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Award; and iii) order “post-award interest at 5% per annum from January 12, 2014, through the

date of entry of the Judgment and post-Judgment interest at the Zambian statutory rate.” ECF No.

1, p. 10.

        Although Zimbabwe was not a party to the MOUs, the arbitration, or the enforcement

proceedings before the Zambian High Court, Plaintiffs argued that the Court should assume

jurisdiction over Zimbabwe and enforce the Order against it because it was ZMDC’s alter ego.

Their submission predominantly rested on the Southern District Court of New York’s decision in

Funnekotter v Agricultural Development Bank, No. 13 CIV.1917(CM), 2015 WL 9302560

(S.D.N.Y. Dec. 17, 2015), which found ZMDC to be Zimbabwe’s alter ego. Plaintiffs argued that

the Court should give Funnekotter preclusive effect under the collateral estoppel doctrine. See ECF

No. 28, pp. 21-23. They also insisted that the Court should find an alter ego because Zimbabwe:

i) is the majority owner of ZMDC; ii) has the power to appoint ZMDC’s Board of Directors; ii)

“has the power to direct ZMDC’s actions;” and iii) “uses ZMDC to pay [its] debts.” See id., p. 9.

Finally, they requested leave to amend the Complaint should the Court find their allegations

insufficient to establish alter ego. See id., p. 36.

        Defendants moved to dismiss the Complaint on different grounds. They argued that the

Court lacks subject matter jurisdiction because neither the waiver nor the arbitration exceptions

under the Foreign Sovereign Immunities Act (“FSIA”) apply to actions to enforce a foreign

judgment confirming an arbitration award. See ECF No. 34, pp. 4-8; ECF No. 29, pp. 5-8.

Defendants also made specific objections to each of them. Zimbabwe disputed the Court’s subject

matter jurisdiction on the ground that it was not a party to the MOUs or an alter ego of ZMDC.

The Commissioner in turn argued that the Court cannot assume subject matter jurisdiction under

the FSIA because it was an individual, not a foreign state. See ECF No. 29, pp. 3-5, 11-20.



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Defendants then challenged the Court’s personal jurisdiction. They insisted that the Court cannot

exercise personal jurisdiction over them because the FSIA immunity exceptions do not apply.

ZMDC and the Commissioner further submitted that the Court cannot assume personal jurisdiction

because they were not served with the Complaint, and Plaintiffs have not established that they

have minimum contacts with the District of Columbia. Finally, Defendants argued that Plaintiffs,

inter alia, failed to allege sufficient facts to support their claim that Zimbabwe is an alter ego of

ZMDC and vice versa.

       On March 22, 2023, the Court denied the motion to dismiss as to the Commissioner but

granted the motion to dismiss as to Zimbabwe and ZMDC (the “Court’s Order”). See Court Order,

ECF No. 38, p. 42. It held that the FSIA applies to the Commissioner because it is a “political

division” of Zimbabwe and, thus, “a component of the state.” See id. at 26. The Court next held

that it has subject matter jurisdiction and personal jurisdiction over the Commissioner. While it

agreed with Defendants that the arbitration exception under Section 1605(a)(6) does not apply to

actions to recognize foreign judgment confirming an arbitration award, it assumed jurisdiction

over the Commissioner under the waiver exception in Section 1605(a)(1) because the

Commissioner was a party to the arbitration and Zimbabwe is a state party to the New York

Convention. See id., pp. 27-30, 35.

       On the other hand, the Court held that it lacks jurisdiction over ZMDC and Zimbabwe

because Plaintiffs did not demonstrate that Zimbabwe was ZMDC’s alter ego and vice versa. Aside

from refusing to give preclusive effect to Funnekotter, it found none of Plaintiffs’ allegations

adequate to establish alter ego. See id., pp. 9-18. But the Court granted Plaintiffs leave to file an

amended complaint. See id., p. 42.




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         On May 24, 2023, Plaintiffs filed an amended complaint seeking to enforce the Order

against Zimbabwe, ZMDC, and the Commissioner (the “Amended Complaint”).

         Defendants now file this Motion to Dismiss the Amended Complaint along with the Second

Declaration of Mr. Tinashe C. Chiparo, attached hereto as Exhibit 1 (“Chiparo Second Decl.”).

                                               ARGUMENT

    I.      Plaintiffs have failed to establish subject matter and personal jurisdiction by a
            preponderance of the evidence

         On a Fed. Civ. P. Rule 12(b)(1) motion to dismiss, the petitioner must establish the court’s

jurisdiction “by a preponderance of the evidence.” See Court Order at 5; see also Dvorak v. U.S.

Dep't of Homeland Sec., No. 18-CV-1941 (DLF), 2019 WL 1491743, at *1 (D.D.C. Apr. 3, 2019)

(quoting Moran v. U.S. Capitol Police Bd., 820 F. Supp. 2d 48, 53 (D.D.C. 2011)) (internal

quotation marks omitted). Because a Rule 12(b)(1) motion challenges the court’s jurisdiction, the

court “will subject a plaintiff’s complaint to ‘closer scrutiny’ than on a motion to dismiss for failure

to state a claim under Rule 12(b)(6).” Ware El v. Soc. Sec. Admin., No. 19CV01684TNMGMH,

2019 WL 5811299, at *2 (D.D.C. Nov. 7, 2019). If the defendant challenges the factual basis of

the court’s jurisdiction, “the court may not deny the motion to dismiss merely by assuming the

truth of the facts alleged but instead must go beyond the pleadings and resolve any disputed issues

of fact the resolution of which is necessary to a ruling upon the motion to dismiss.” Court Order,

at 6 (quoting Phoenix Consulting Inc. v. Republic of Angola, 216 F.3d 36, 40 (D.C. Cir. 2000))

(internal quotation marks omitted); see also Johnson v. BAE Sys., Inc., No. 11-CV-2172 (RLW),

2012 WL 13055684, at *1 (D.D.C. Oct. 23, 2012) (“the [c]ourt is not bound to treat all of the

plaintiff’s allegations as true, but instead may receive and weigh affidavits and other relevant matter

to assist in determining the jurisdictional facts.”).




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       The Foreign Sovereign Immunities Act (“FSIA”) provides the only basis for assuming

jurisdiction over foreign states, including their instrumentalities. See Argentine Republic v.

Amerada Hess Shipping Corp., 488 U.S. 428, 443 (1989); Court Opinion at 5. Under the FSIA,

foreign states are presumed to be immune from suit unless the plaintiff proves that one of the

enumerated exceptions in the statue applies. See 28 U.S.C.A. § 1604; see also Bell Helicopter

Textron, Inc. v. Islamic Republic of Iran, 734 F.3d 1175, 1183 (D.C. Cir. 2013) (“FSIA begins

with a presumption of immunity, which the plaintiff bears the initial burden to overcome by

producing evidence that an exception applies.”).

       The “basic objective of foreign sovereign immunity is to free a foreign sovereign from

suit.” Process & Indus. Devs. Ltd. v. Fed. Republic of Nigeria, 962 F.3d 576, 584 (D.C. Cir. 2020)

(citing Bolivarian Republic of Venezuela v. Helmerich & Payne Int'l Drilling Co., 137 S.Ct. 1312,

1317 (2017)) (internal quotation marks omitted). Courts must therefore decide on issues of

immunity “as near to the outset of the case as is reasonably possible” and “before the sovereign is

required to defend on the merits.” Ibid.; see also Verlinden B.V. v. Cent. Bank of Nigeria, 461 U.S.

480, 494 (1983) (holding that questions regarding immunity must be decided “[a]t the threshold

of every action.”); Denegri v. Republic of Chile, No. CIV. A. 86-3085, 1992 WL 91914, at *2

(D.D.C. Apr. 6, 1992) (same); Phoenix Consulting Inc. v. Republic of Angola, 216 F.3d 36, 39

(D.C. Cir. 2000) (“to preserve the full scope of that immunity, the district court must make the

critical preliminary determination of its own jurisdiction as early in the litigation as possible; to

defer the question is to frustrate the significance and benefit of entitlement to immunity from suit.”)

(internal quotation marks omitted).




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        Invoking the immunity exceptions under 28 U.S.C. §§ 1605(a)(1) and 1605(a)(6) of the

FSIA, Plaintiffs argue that Defendants are subject to the jurisdiction of this Court. See Am. Compl.,

¶ 8. For the reasons set forth below, the Court should dismiss the Amended Complaint.

        A.      Plaintiffs cannot overcome the presumption of juridical separateness and
                therefore cannot establish that Zimbabwe and ZMDC are alter egos of each
                other

        Where a party alleges that an instrumentality is an alter ego of a State, a court first assesses

whether the instrumentality is the “sort of entity to which the presumption of separation applies,”1

and, if it is, it then determines if “sufficient grounds exist to disregard [its] presumptive separateness

from the” State. DRC, Inc. v. Republic of Honduras, 71 F. Supp. 3d 201, 209 (D.D.C. 2014). That

presumption can only be displaced by showing that (1) “a corporate entity is so extensively

controlled by its owner that a relationship of principal and agent is created” or (2) “where recognition

of the instrumentality as an entity apart from the state would work fraud or injustice.” See, e.g., Court

Order at 5-6, (citing Transamerica Leasing Inc. v. La Republica de Venezuela, 200 F.3d 843, 847

(D.C. Cir. 2000).

        Neither of these two scenarios is present here. Despite obtaining a second opportunity,

Plaintiffs have failed to prove that Zimbabwe and ZMDC were alter egos during the relevant period,

i.e., at the conclusion of the MOUs or during the arbitration. See Court Order at 14; see also TIG Ins.

Co. v. Republic of Argentina, No. 18-MC-00129 (DLF), 2022 WL 1154749, at *8 (D.D.C. Apr. 18,

2022), order corrected and superseded, No. 18-MC-00129 (DLF), 2022 WL 3594601 (D.D.C. Aug.

23, 2022) (assessing if Caja (Argentina’s instrumentality) was an alter ego of Argentina when the

underlying contracts between the plaintiff and Caja were made).



1
 This Court has already determined that the presumption applies. See Court’s Memorandum Opinion and
Order issued on March 22, 2023, ECF No. 38 (“Court Order”).

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         Zimbabwe and ZMDC have organized their arguments on the issue of alter ego below to

address the two paths identified by this Court for establishing an alter ego relationship despite

Plaintiffs’ failure to do the same in their Complaint. The manner in which Plaintiffs set out their

allegations forced Zimbabwe and ZMDC to speculate, at times, as to which allegations pertained to

either the principal-agent or the fraud and injustice prong of the alter ego claim.

                1. Plaintiffs cannot show that a relationship of principal and agent exists between
                   Zimbabwe and ZMDC

         As noted by the D.C. Circuit and repeated by this Court, there is no principal and agent

relationship unless the parent has shown this intent, the subsidiary has consented, the parent has the

right to exercise control over the subsidiary with respect to matters entrusted to the subsidiary, and

“the parent exercises its control in a manner more direct than by voting a majority of the stock in the

subsidiary or making appointments to the subsidiary’s Board of Directors.” DRC, Inc., 71 F. Supp.

3d at 216; see also GSS Group Ltd. v. Nat’l Port Authority of Liberia, 822 F.3d 598, 605-606 (D.C.C.

2016).

         This Court has also made other observations relevant to an alter ego analysis that are

particular to sovereign-owned entities. First, the fact that a state-owned entity may assist in carrying

out “policies and goals” on behalf of the sovereign does not establish an alter ego relationship. See,

e.g., Gater Assets Ltd. v. AO Moldovagaz, 2 F.4th 42, 55 (2d. Cir. 2021). Second, when determining

whether “extensive control” exists in the case of a state entity, “a government can wield power not

only as [a] shareholder but also as [a] regulator” without erasing the juridical boundaries that exist

between the two. Transamerica Leasing Inc., 200 F.3d at 851. Third, it is only when a government

exercises control above and beyond its role as a regulator that it has exercised “day-to-day” control

over an entity’s operations that the separate corporate form can be disregarded. See id. To that end,

the exercise of a power that is incidental to ownership is not synonymous with control over the

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instrumentality’s day-to-day operations. Showing control over day-to-day operations is necessary to

establish the “extensive control” prong.

        In line with the above test, this Court has reiterated the requirements for determining whether

the control is so extensive to show that a principal-agent relationship exists, in this case, such that

the presumption of separateness is overcome. Court Order at 9. This Court has accepted that the

degree of control over the instrumentality must “significantly exceed []the normal supervisory

control exercised by any corporate parent over its subsidiary;” that both State and instrumentality act

as one, and more importantly, that the relationship of principal-agent is one where the principal has

“the right to control the conduct of the agent with respect to matters entrusted to [the agent].” Id. at

10 (internal citations omitted). This Court has also reiterated the long-standing position that the

control must be more direct beyond “voting a majority of the stock in the subsidiary” or “making

appointments to the subsidiary’s Board of Directors.” Id. at 11.

        This Court has found that the allegations of the original complaint concerning that ZMDC

“was created by the Zimbabwe Mining Development Corporation Act, and by law the Republic of

Zimbabwe appoints its Board of Directors, approves significant actions, has the power to direct its

actions, [sic] pays the debts of the Republic of Zimbabwe, and must be majority-owned by the

Republic of Zimbabwe” to be insufficient to show that ZMDC is the Republic’s alter ego. Id. at

11. The Court noted that “[t]he complaint does not describe what “significant actions” the Republic

must approve, how extensive that alleged authority is, or whether that authority “represents the

exercise of [the Republic’s] authority as shareholder rather than its exercise as a governmental

power in the ordinary course of regulation.” Id. at 11.

        Plaintiffs’ second attempt to establish an alter ego relationship fails for similar reasons set

forth in this Court’s decision of March 22, 2023. Plaintiffs’ additional allegations continue to fail



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to show that a principal-agent relationship exists. While the allegations have increased beyond a

single paragraph, they are more of the same in substance and fail to show that the Republic exercises

day-to-day control over ZMDC.

        For a majority of the new allegations concerning this element of alter ego, Plaintiffs have

relied almost entirely on cherry-picking the provisions of the ZMDC Act 2 to allege that the

“Government completely controls ZMDC. . .” See Am. Compl. at ¶¶ 42-61. None of these are facts

that satisfy the legal standard, and all of the allegations fall flat. Many are based on self-serving

interpretations or assumptions of the provisions of the ZMDC Act, intentionally ignoring those

provisions that defeat their argument. Other allegations simply reiterate actions that are inherent in

a relationship between a state-owned entity and the sovereign or pertain to issues that do not concern

or identify the relevant time period (e.g., the time of execution of the MOUs or the arbitration

proceedings). Plaintiffs also make several allegations that the Republic instructed or directed ZMDC,

without confirming whether ZMDC acted as a result of those alleged instructions or directions. See,

e.g., Am. Compl. ¶ 60. 3 Lastly, Plaintiffs rely on contradicting evidence and allegations based on

speculation as to a future event. See, e.g., Am. Compl. at ¶ 44, 69-71. In sum, none of the allegations

demonstrate any day-to-day control or control so extensive as to show the existence of the principal-

agent relationship.




2
  Plaintiffs have not included the ZMDC Act as an Exhibit to their Amended Complaint. For purposes of
this Motion, the Defendants have relied on Exhibit 3 attached to their Reply in Support of their Motion to
Dismiss. See ECF No. 29-3.
3
  As to any allegations concerning the termination of Plaintiffs’ alleged “joint venture,” this is contradicted
by the underlying Award which finds that there was an absence of a joint venture agreement between
ZMDC and Plaintiffs. Am. Compl. ECF No. 40-1 at 177. Further, there is no allegation in the Award that
the Government, rather than ZMDC, terminated the contracts at issue further contradicting the allegation in
the Amended Complaint. See generally, Am. Compl., ECF No. 40-1.

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       Plaintiffs continue to harp on the ownership structure of ZMDC (Am. Compl. ¶ 45) and the

appointment and composition of board members to argue “complete” government control. Am.

Compl. ¶¶ 49-52. This Court has already discarded that the majority ownership of a state entity by

the government, a key feature of a state-owned entity, and the appointment of board members by the

government are insufficient to overcome the presumption of separateness. ECF No. xxx at x. While

the Ministry of Mines appoints members of the Board, this does not change the legal independence

bestowed on ZMDC through the ZMDC Act. See DRC, Inc., 71 F. Supp. 3d at 212. These types of

allegations do not further Plaintiffs’ claim, because as this Court has already noted, “[a] sovereign

does not create an agency relationship merely by owning a majority of a corporation's stock or by

appointing its Board of Directors.” Transamerica Leasing, Inc. v. Venezuela, 200 F.3d 843, 849

(D.C. Cir. 2000); see also TIG Ins. Co, 2022 WL 1154749 at 9; DRC, Inc., 71 F. Supp. 3d at 215.

       Moreover, while Plaintiffs attempt to argue that the board members “serve at the pleasure of

the Minister” (ECF 40 at ¶ 50), this is nothing more than a conclusory statement contradicted by the

text of the ZMDC Act. Plaintiffs ignore the express limitations on the Minister’s power of removal.

Specifically, Section 9 specifies that the Minister may remove a board member only in three

scenarios: (a) if they are guilty of improper conduct as member; (2) have failed to comply with the

conditions of office or (c) if mentally or physically incapable of efficiently performing their duties

as a member. See also, Chiparo Second Decl. at ¶ 8. There are also limitations on whom the Minister

can appoint as Board members (ZMDC Act, Section 7), and no Board member can serve for a period

exceeding three years. ZMDC Act ¶ 6(1). Citations to the ZMDC Act are plainly insufficient, and

the power over the board members is not absolute as Plaintiffs wrongly attempt to portray. Am.

Compl. at ¶ 50-54.




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        The allegations that the current Board has members that have served on other government

boards or that officers of the Public Service can attend meetings or join the Board are irrelevant for

an alter ego analysis. See Am. Compl. at ¶¶ 52-53. There is no allegation that the Board is completely

composed of government employees such that its separate function should be disregarded or that

officers of the Public Service vote and can override the decision of the Board. See id. Indeed, the

officers of the Public Service have no voting rights. ZMDC Act §14. In sum, there is nothing in the

power of appointment or the board composition as pled in the Amended Complaint that supports an

alter ego relationship. Court Order at 11.

        Plaintiffs also resort to making contradictory allegations concerning the Board. Despite citing

an article that shows the appointment of individuals to the Board of ZMDC (Ex. I), Plaintiffs also

rely on a State Department article to claim that Zimbabwe has allowed ZMDC to function without

boards. Am. Compl. at ¶ 44, citing to Ex. H, ECF No. 40-8. This Court should disregard these

contradictory allegations. See, e.g., Nehbor v. Yahoo!, Inc., 391 F. Supp. 2d 181, 187 (D.C.C 2005)

(dismissing claims based on contradictory statements).

        Plaintiffs make a series of allegations concerning the Minister’s power, including that the

Minister has the power to investigate and order reports from ZMDC. Am. Compl. at 54-55. Neither

of these actions establishes extensive control. See, e.g., Gater Assets Ltd., 2 F.4th at 57-58 (declining

to find that the government’s investigations were sufficient to establish extensive control since a

government’s power to investigate “is not remarkable”). Plaintiffs have failed to cite any

investigation or request for a report, let alone any action in this regard that goes beyond the

government’s role as a regulator. Transamerica Leasing Inc., 200 F.3d at 851. Plaintiffs also allege

that the Minister must approve ZMDC’s General Manager but fail to allege that the Minister




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exercises any further control over the General Manager, besides appointment approval that would

support a showing of excessive control or day-to-day control over ZMDC’s operations.

        In an attempt to bolster their arguments, Plaintiffs resort to misconstruing the ZMDC Act to

claim that the “Minister [has] the absolute right to overrule any decision of the Board based on the

Minister’s view of the public interest.” Am. Compl. at 54. There is no provision that supports this

interpretation. To the contrary, Section 25(1), which Plaintiffs cite, only allows the Minister, “after

consultation with the Board to give the Corporation such directions of general character relating to

the exercise by it of its functions, duties and powers as appear to the Minister to be in requisite in the

national interest.” ZMDC Act, Section 25(1)(emphasis added). In any event, Plaintiffs have not cited

a single instance of the Minister overriding a Board decision, even for reasons of public interest.

        Plaintiffs’ reliance on the Schedule to the ZMDC Act is equally unavailing. The ZMDC Act

expressly provides that that “operations of the Corporation shall, subject to the Act, be controlled by

a board . . .” ZMDC Act § 4. While the Minister has approval power for certain actions, Plaintiffs

fail to allege, even in a conclusory fashion, that the power goes beyond approval to govern ZMDC’s

day-to-day operations.

        The Schedule (Section 22) of the ZMDC Act outlines the “powers of the corporation,” which

Plaintiffs conveniently ignore. Am. Compl. at ¶ 57. The corporate powers identified in Schedule 22

show that ZMDC is an independent entity. ZMDC is “capable of suing and being sued” and is further

allowed under the Act to alienate property, execute any “negotiable or transferable instruments,”

make or modify “contracts and enter into suretyships or give guarantees,” “associate with,

participate in or enter into joint or other ventures with individuals, associations…corporations in

the development of the mining industry in Zimbabwe, and exercise and control issues pertaining

to its employees, including employing individuals, suspending or discharging such employees,



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selling, constructing, purchasing or leasing dwelling houses and land for purposes of housing

employees, among other powers, . ZMDC Act, Schedule, Section 22. Finally, ZMDC is a distinct

economic enterprise that is not subject to the same administrative requirements that apply to

governmental agencies. ZMDC does not receive any budget from Zimbabwe and “[u]nlike

government employees, ZMDC employees are not governed by the Public Service Act 1995” but

through other instruments such as the Mining Industry Employment Code. See Chiparo Second

Decl., ¶ 12. To the extent that certain actions require the approval of the Minister or the Minister of

Finance, Plaintiffs have failed to show how those actions demonstrate complete control such that the

government exercises day-to-day control over ZMDC’s operations.

       Like other corporations, ZMDC is responsible for its finances. Its capital consists of “the

share capital of the Corporation; and any other moneys or assets that may vest in or accrue to the

Corporation as capital.” ZMDC Act, §31. Its revenue includes any other cash that “accrues to the

Corporation, whether in the course of its operations or otherwise.” See id., § 32. At the end of each

fiscal year, ZMDC is audited by independent auditors registered as public auditors in terms of the

Public Accountants and Auditors Act. See id., Art. 40(1)(2). Plaintiffs cite to several provisions

purported to be in Section 33 of the ZMDC Act, which Defendants are unable to locate in the ZMDC

Act, except a provision set forth in Article 33 which confirms Plaintiffs’ allegation that “ZMDC

must declare a dividend to pay the Republic any surplus funds.” Am. Compl. at ¶ 56 (citing to

subsections of ZMDC Act §33 which do not appear in the text of ZMDC Act). In light of this

contradiction between the allegations and the text of the ZMDC Act, this Court should disregard

those allegations. It is also irrelevant if Zimbabwe allegedly used the dividends it obtained from

ZMDC to pay its debts. As a shareholder, Zimbabwe is entitled to dividends if the revenue in a

financial year is enough to cover certain expenses. See ZMDC Act, Art. 33.



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        Plaintiffs then turn their focus on the policy reasons for establishing ZMDC and its stated

purpose in the ZMDC Act to claim that they show “complete control.” See Am. Compl., at ¶ 47-48.

Plaintiffs go as far as baselessly alleging that “ZMDC is explicitly an organ of Government policy

and was created to pursue government’s goals regardless of commercial sense” based on the fact that

ZMDC, as is the case with State-owned entities, was set up to carry out certain government policy

objectives. Am. Compl. at ¶ 47, 48. But the fact that ZMDC is set up to further the Republic’s mining

policies or goals is not sufficient to overcome the presumption of separateness. See, e.g., Gater Assets

Ltd., 2 F.4th at 55. For similar reasons, Plaintiffs’ reliance on a 2018 article citing the Minister as

stating that the “boards” are executing “key government objectives” is unavailing and irrelevant to

the time period at issue. See Am. Compl. at ¶ 51 and Ex. I to Am. Compl., ECF No. 40-9 at 3.

        Equally irrelevant is any allegation pertaining to an alleged sale of certain mines in 2018 or

2020 or a future plan to transfer or sell ZMDC’s assets. See, e.g., Am. Compl. ¶¶ 58-59 (citing to

Ex. J, ECF No. 40-10) and ¶¶ 69-71; see also, Court Order at 14 (dismissing allegations outside of

the relevant time period for the determination of alter ego in this case). In any event, the articles

cited cast doubt on whether the alleged actions were completed or occurred. See Ex. J, Am. Compl.,

ECF No. 40-10 at 3 (claiming that “[t]he said mines are part of the ZMDC stable and were under

judicial management. In is far [sic] as I am aware, this process is yet to be finalized”); see also, Ex.

K, Am. Compl., ECF No. 40-11 (discussing a plan to allegedly shift ZMDC’s assets to “Defold”).

        To the extent that Plaintiffs rely on allegations concerning ZMDC’s SDN designation by

OFAC, those allegations fail to support a finding of alter ego under the “principal-agent” factor. The

SDN designation itself is insufficient to support a finding of alter ego. See e.g., In re 650 Fifth Ave.

(650 Fifth), No. 08 CIV. 10934, 2013 WL 2451067 (S.D.N.Y. June 6, 2013). Even if the Court is to




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consider the press release 4 Plaintiffs cite, the allegations concerning ZMDC are vague and not

specific. See Am. Compl. at ¶ 64. There are no details contained in the press release as to how, when,

what and where to allow Defendants to understand the allegations against them. In any event,

evidence exists to rebut OFAC’s press release on this point. In September 2013, EU delisted ZMDC

from its list of sanctioned entities. 5 Moreover, ZMDC is subject to not only an internal, but also

external audit by the Office of Comptroller & Auditor General, which in 2011 attained autonomous

status from the government. 6 See Chiparo Second Decl. ¶ 20.

          Lastly, Plaintiffs point to the Republic’s alleged use of ZMDC’s assets to pay sovereign debt.

See Am. Compl. ¶ 60 (presumably referring to ¶¶ 67 et. seq.). Plaintiffs’ allegations on this point are

convoluted. They make a vague reference to the Republic ordering ZMDC to pay off a loan using

“its share of the proceeds from the mining project.” It is unclear from the allegation whether it is

referring to ZMDC or the Republic’s share of the proceeds. Whether Plaintiffs are referring to

ZMDC or Zimbabwe’s share of the proceeds, those allegations fail to support a finding of alter ego.

There is no relevant time period indicated to allow the Court to consider such an allegation (¶ 68),

and even if the transaction refers to the one specified in paragraph 75, that transaction occurred in

2019 and falls outside the relevant time period for the determination of the relevant alter ego

relationship. Court Order at 14 (identifying the relevant period as either when ZMDC entered into

the MOUs with Plaintiffs in 2007 and 2008 or when it actually participated in the Zambian arbitration

in 2011). For the same reason, this Court should disregard the allegations contained in paragraphs

78-80.



4
 Plaintiffs fail to include the press release as an exhibit to the Complaint, providing the Court only with
an excerpt as part of their Amended Complaint.
5
    https://2009-2017.state.gov/j/inl/rls/nrcrpt/2016/vol2/253441.htm
6
    https://www.auditorgeneral.gov.zw/about-us/history

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        Plaintiffs have demonstrated none of the conditions necessary for finding a principal and

agent relationship between Zimbabwe and ZMDC. There is no allegation that Zimbabwe instructed

ZMDC to conclude the MOUs on its behalf nor is there any claim that ZMDC entered into the MOUs

on Zimbabwe’s behalf. See ECF No. 1, ¶¶ 18-22. Aside from making conclusory assertions of

Zimbabwe’s involvement in certain “decisions” or “actions” taken by ZMDC, Plaintiffs have also

not alleged or proved that Zimbabwe exerted control over ZMDC’s day-to-day operations during the

critical time, i.e., the conclusion of the MOUs. See ECF 28 at 17; see also TIG Ins. Co, 2022 WL

1154749 at 9. This is not unexpected. As noted by Mr. Chiparo, ZMDC largely operates without the

approval of Zimbabwe or the Minister. See Chiparo Second Decl., ¶ 16.

        For the above reasons, this Court should find that Plaintiffs have fail to show the existence

of an alter-ego relationship between ZMDC and Zimbabwe that would support a finding of

jurisdiction in this case.

                2. Plaintiffs have not shown that respecting ZMDC’s separate corporate personality
                   would result in fraud or injustice

        Plaintiffs have also failed to establish alter ego under the fraud or injustice prong. To pierce

an instrumentality’s corporate veil under this prong, there must be proof that the sovereign abused

the instrumentality’s corporate form “to perpetrate fraud or injustice” during the relevant period. See

Alkanani v. Aegis Def. Servs., LLC, 976 F. Supp. 2d 1, 8 (D.D.C. 2013); see also TIG Ins. Co., 2022

WL 1154749, at *10 (refusing to find alter ego under the second prong because the plaintiff

presented no evidence that, at the time of the relevant period, Argentina manipulated its state-owned

company, Caja, to obtain a benefit without risk); Bridas S.A.P.I.C. v. Gov't of Turkmenistan, 447

F.3d 411, 417 (5th Cir. 2006) (finding fraud or injustice where Turkmenistan, during the relevant

period, dissolved a state-owned company that was a party to a joint venture agreement with plaintiff




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and replaced it with another state-owned company with small initial capital and immunity from

seizure.). Here, there is none.

        Lacking evidence, Plaintiffs resort to hyperbole and conclusory allegations. They allege that

ZMDC is “undercapitalized” and that Zimbabwe “has been playing a shell game,” moving ZMDC’s

assets to “defraud its creditors,” and using ZMDC’s assets “as it sees fit.” See Am. Compl., ¶ 41. To

make their case, Plaintiffs point to allegations in news articles that allegedly occurred between 2017-

2022. See e.g., ECF No. 28-4, Ex. 2 (referring to alleged bid for sale of ZMDC’s mine assets in

2018); ECF No. 28-4, Ex. 3 (referring to alleged sale of ZMDC’s assets in 2022); Am. Compl., ECF

No. 40-10 (referring to Landela Investment Ltd.’s alleged assessment of the Jena Mine in 2020);

Am. Compl., ECF No. 40-11 (referring to Zimbabwe’s alleged plan in 2022 to transfer ZMDC’s

interest in Kamativi Tine Mines.); Am. Compl., ECF No. 40-12 (referring to alleged transfer of

treasury bills to Sakunda Holdings Ltd. and Landela Investments Ltd. in 2019); Am. Compl., ECF

No. 40-13 (referring to the Ministry of Mines’ alleged decision in 2019 to settle ZCDC’s debt); Am.

Compl., ECF No. 40-14 (referring to alleged arms-for-minerals deal between Zimbabwe’s military

and China in 2017). These allegations are irrelevant as they fall outside the relevant period.

        Plaintiffs’ allegations also fail for the following four separate reasons that are further

elaborated below. First, the allegation that ZMDC is undercapitalized is conclusory and immaterial

as this alone does not prove that Zimbabwe abused ZMDC’s corporate form to commit fraud or

injustice. There are also no facts to support this bare assertion. Second, there is no evidence that

Zimbabwe planned to move ZMDC’s assets to another company or that it crafted such a plan to

defraud creditors. Again, these are nothing more than empty statements with no support. Third, a

disregard of an instrumentality’s corporate formality without the intention to commit fraud or

injustice is insufficient to establish the second element. In any event, there no evidence that



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Zimbabwe improperly used ZMDC’s assets. Fourth, and finally, the allegation that ZMDC awarded

mining concessions to senior government officials and the claim that President Emmerson

Mnangagwa’s advisor, Mr. Kuda Tagwirei, “may have been arbitrarily awarded” mining rights in

state-owned mines are, aside from being false, irrelevant because they do not prove that Zimbabwe

abused ZMDC’s corporate form.

                a. Undercapitalization and past payment defaults are irrelevant for the purpose of
                   establishing the second prong

        Plaintiffs have presented no evidence that ZMDC is undercapitalized, but even if that is the

case, it is insignificant. “Inadequate capitalization after incorporation” is only relevant “if the capital

was removed as part of a fraudulent conveyance scheme.” Even “[i]n such a scheme, the inappropriate

transfer of assets and not the level of capitalization would be the prevailing factor in determining

whether to pierce the corporate veil.” See Gater Assets Ltd., 2 F.4th at n. 16 (citing NLRB v. Bolivar-

Tees, Inc., 551 F.3d 722, 730 n.7 (8th Cir. 2008). Although Plaintiffs claim that ZMDC is

“undercapitali[zed],” and has “consistently failed to meet its financial obligations…both during the

pendency of the arbitration and after the arbitral award was issued,” there is no allegation, let alone

proof, that this was a result of a fraudulent transfer of assets. See Am. Compl., , ¶ 67.

                b. There is no evidence that Zimbabwe moved ZMDC’s assets to Defold Mine or
                   that it moved those assets to shield them from creditors

        Plaintiffs have again failed to substantiate their claims that Zimbabwe abused ZMDC’s

corporate form to defraud creditors. Citing to a news article, Plaintiffs argued in their Complaint that

the Court should treat Zimbabwe as an alter ego of ZMDC because it “may dissolve ZMDC and

transfer its assets to a different state-owned entity.” ECF No. 28, p. 10. The Court ruled that the

allegation is insufficient to establish alter ego under the fraud or injustice theory. See ECF No. 38,

p. 13, n.4. Plaintiffs then reiterate their claim in the Amended Complaint without much more support.



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Turning to another news article, they insist that Zimbabwe has a “scheme” to move ZMDC’s assets

to Defold Mine to defraud ZMDC’s creditors. See Am. Compl., ¶ 70.

        Zimbabwe would have no incentive of taking such measure as only ZMDC is responsible to

its creditors. It is thus unsurprising that Plaintiffs, beyond citing to inadmissible hearsay statements

in a news article, present no evidence that Zimbabwe planned to transfer ZMDC’s interests in

Kamativi Tin Mines (Pvt) Ltd and Todal (Pvt) Ltd to Defold Mine to defraud its creditors. See Am.

Compl., ECF No. 40-11, p.3; Welborn v. Internal Revenue Serv., 218 F. Supp. 3d 64, 80 (D.D.C.

2016) (“when considering a motion to dismiss for lack of subject matter jurisdiction, a court cannot

rely on conclusory or hearsay statements contained in the affidavit.”); see also Beydoun v. Wataniya

Restaurants Holding, Q.S.C., 768 F.3d 499, 506 (6th Cir. 2014) (“[i]n general, it is improper for a

court to consider hearsay statements when ruling on a motion to dismiss.”). There is also no proof

that Zimbabwe executed the alleged plan to transfer the assets. Rather, the news article suggests that

ZMDC, exercising its autonomy, strongly rejected the alleged plan. See Am. Compl., ECF 40-11,

pp.3, 5-6.

                c. Plaintiffs cannot satisfy the second element by merely alleging breach of
                   corporate formalities

        “Proof of the first element [of alter ego] is not proof of the second.” Fed. Trade Comm'n v.

Noland, No. CV-20-00047-PHX-DWL, 2021 WL 289659, at *4 (D. Ariz. Jan. 28, 2021). A disregard

of corporate formality, in the absence of a fraudulent or wrongful intent, is not sufficient to establish

the second element. See Bd. of Trustees, Sheet Metal Workers' Loc. Union 102 Health Ben. Fund v.

Gibson Bros., No. 820329, 1982 WL 2079, at *6 (D.D.C. Oct. 27, 1982) (holding that CGI’s failure to

respect GBI’s corporate formalities is not sufficient to prove “fraud or injustice on the part of CGI.”);

see also Fed. Trade Comm'n v. Noland, 2021 WL 289659, at *4 (noting that disregard of corporate




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formalities and commingling of funds “shed no light on the second element,” which requires a showing

that observing the entity’s corporate personality would “result in fraud or injustice.”).

        Plaintiffs claim that Zimbabwe allegedly disregarded ZMDC’s corporate form on several

occasions. Particularly, they submit that Zimbabwe: i) “directed ZMDC to repay a loan owed by the

Republic using its share of proceeds from a mining project,” ii) took “ZMDC’s dividends from its joint

ventures directly rather than allowing them to go to ZMDC,” iii) “diverted ZMDC’s revenues to shell

companies controlled by political and military figures,” iv) “repeatedly directed ZMDC to strip the

concessions of joint venture partners who have fallen out of political favor, including Plaintiffs,” and

v) directed ZMDC to conclude mining concession agreements with the Zimbabwe National Army and

foreign companies. See Am. Compl., pp. 68, 73, 75, 77-78, 80. These allegations are insufficient to

satisfy the second element as there is no claim or proof that these measures were taken to defraud

Plaintiffs or other creditors.

        There is also no evidence to support either claim. Citing to news articles, they allege that

Zimbabwe instructed ZMDC to conclude arms-for-minerals deals with Chinese and Russian

companies. See id., ¶ 77. Plaintiffs mischaracterize the articles. Exhibit N does not state that ZMDC,

with or without Zimbabwe’s direction, concluded arms-for-mineral deals with Chinese companies.

Rather, it identifies China North Industries Group Corporation (“Norinco”), which has a joint venture

with ZMDC, as the entity that has in the past “been accused of quarterbacking China’s arms-for-

resources deals” with Iraq and South Sudan. See Am. Compl., ECF No. 40-14, p.1. The other appended

news article also fails to support the claim that Zimbabwe directed ZMDC to conclude arms-for-

minerals deals with Russian investors and Russian state-owned company, Rostec. See Am. Compl., ¶

77. The article, deceivingly titled “arms deal behind platinum project,” does not report of any arms-

for-minerals deals between ZMDC and the Russian entities. See ECF No. 28-4, Ex.1. It instead



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speculates of “secret arms deal hidden behind” Great Dyke Investments—a joint venture between Pen

East mining company and a Russian consortium composed of Rostec, VI Holdings, and

Vnesheconombank. See id., p. 2. But even that assumption is not based on evidence but on Zimbabwe

representatives’ alleged participation in an “arms expo” held in South Africa and Mr. Denis

Mantrouv’s involvement in the joint venture as the chairperson of Rostec supervisory board. See id.,

pp 2-3.

          Similarly, there is no evidence that Zimbabwe directed ZMDC to sell its interests in the

Kamativi lithium concession to the Zimbabwe National Army or to “award a diamond mining

concessions to a company in the United Arab Emirates (“UAE”).” See Am. Compl., ¶¶ 75, 78. As Mr.

Chiparo noted, ZMDC still maintains its interest in Kamativi Tin Mines and the Kamativi dump. See

Chiparo Second Decl. at ¶ 22. The article cited by Plaintiff does not refute Mr. Chiparo’s declaration.

Even if there was a plan to dispose these assets, the article notes that it was aborted because it did “not

attract [] enough quality bids.” ECF No. 28-4, Ex.2, p. 1. Plaintiffs’ claim with respect to ZMDC’s

deal with a UAE company also lacks any support. Contrary to their allegation, the appended article

only claims that the Ministry of Mines, not ZMDC, “committed” to satisfy Zimbabwe Consolidated

Diamond Company’s (“ZCDC”) debt to a UAE company by selling a diamond parcel. See Am.

Compl., Ex. N ECF No. 40-13, p.1.

          Finally, there is no evidence that Zimbabwe improperly transferred ZMDC’s revenues.

Plaintiffs refer to the Department of Treasury’s press release of July 25, 2008, which alleges that

“Robert Mugabe and his senior officials” have used ZMDC to “illegally siphon revenue and foreign

exchange from the Zimbabwean people.” The allegation is vague and disputed by other evidence. See

Motion to Dismiss, pp.15-16. Its relevance is also questionable because there is no indication in the

press release that the Treasury’s findings were based on facts existing during the relevant period.



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                d. The rest of the allegations are irrelevant as they do not establish an abuse of
                   ZMDC’s corporate form

        The other allegations in the Amended Complaint are immaterial for proving the second prong.

Plaintiffs claim that: i) ZMDC “on a number of occasions awarded concessions to companies owned

by senior government figures,” and ii) Mr. Tagwieri “may have been arbitrarily awarded” mining rights

in State-owned mines. See Am. Compl., ¶¶ 74, 79. The Court should disregard these allegations

because they do not prove an abuse of ZMDC’s corporate form. See Gen. Star Nat’l Ins. Co. v.

Administratia Asigurarilor de Stat, 713 F. Supp. 2d 267, 283 (S.D.N.Y. 2010) (“abuse of the corporate

form must be clearly demonstrated to justify holding the subsidiary liable for the debts of its sovereign

parent.”).

        It should also dismiss the allegations because they are inaccurate. ZMDC cannot and has not

granted mining concessions to any entity. See Chiparo Second Decl. at ¶ 21. Such authority lies with

the Ministry of Mines. Plaintiffs cite two news articles discussing Anjin Investment (“Anjin”) to argue

otherwise. Exhibit O describes Anjin as “a joint venture company incorporated by Chinese

construction giant Anhui Foreign Economic Construction Group (AFECC) and Matt Bronze

Enterprises (Pvt).” Am Compl., ECF No. 40-15, p.3. It notes that ZMDC has no relation to Anjin. See

id., p. 2 (“Anjin is not related to the ZMDC”). Contradicting Exhibit O, Exhibit P alleges that ZMDC

and the Zimbabwe Defence Industry (“ZDI”) have some stake in Anjin. See ECF Am. Compl., ECF

No. 40-16, p. 1. But neither of the articles suggests that ZMDC awarded mining concessions to Anjin.

Nor do they claim that Anjin is owned by “senior government figures.” While Exhibit O alleges that

Zimbabwe government officials are board members of Anjin, it does not claim that these officials own

the entity. Am. Compl., ECF No. 40-15, p.5, Table 1 (describing certain government officials as

“members” of Anjin).




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        For a similar reason, the Court should ignore Plaintiffs’ claim with respect to President

Emmerson Mnangagwa’s advisor, Mr. Kuda Tagwirei. Plaintiffs have presented nothing that supports

their speculation that Mr. Tagwieri “may have been arbitrarily awarded” mining rights.

        B.      This Court cannot assume subject matter jurisdiction under the waiver
                exception in 28 U.S.C. §1605(a)(1)

        Section 1605(a)(1) allows a court to assume jurisdiction over a foreign sovereign where the

sovereign waives its immunity explicitly or implicitly. The D.C. Circuit and other sister circuit courts

have construed the implied waiver exception narrowly. See Khochinsky v. Republic of Poland, 1

F.4th 1, 8 (D.C. Cir. 2021), cert. denied, 142 S. Ct. 771 (2022); Wye Oak Tech., Inc. v. Republic of

Iraq, 24 F.4th 686, 691 (D.C. Cir. 2022) (“this circuit has followed the virtually unanimous

precedents construing the implied waiver provision narrowly.”) (internal quotation marks omitted);

Cabiri v. Gov't of the Republic of Ghana, 165 F.3d 193, 201 (2d Cir. 1999). To assume jurisdiction

under the waiver exception, “the waiver must be clear and unambiguous.” TIG Ins. Co. v. Republic

of Argentina, No. 18-MC-00129 (DLF), 2022 WL 3594601, at *5 (D.D.C. Aug. 23, 2022)

        An implied waiver under 28 U.S.C. §1605(a)(1) exists where the foreign sovereign

“indicated its amenability to suit” in the United States and the sovereign “subjectively intended” to

waive its immunity. See ibid; see also Khochinsky, 1 F.4th at 8; Doe I v. State of Israel, 400 F. Supp.

2d 86, 105 (D.D.C. 2005); Cabiri v. Gov't of the Republic of Ghana, 165 F.3d 193, 201 (2d Cir.

1999); Haven v. Rzeczpospolita Polska, 68 F. Supp. 2d 947, 953 (N.D. Ill. 1999), aff'd sub no. Haven

v. Polska, 215 F.3d 727 (7th Cir. 2000); Frolova v. Union of Soviet Socialist Republics, 761 F.2d

370, 377 (7th Cir. 1985) (“courts rarely find that a nation has waived its sovereign

immunity…without strong evidence that this is what the foreign state intended.”).

        The Amended Complaint provides no evidence of subjective or objective implied waiver.

Plaintiffs argue that Defendants waived their immunity by “agreeing to and participating in an

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arbitration governed by the New York Convention in Zambia, which, like Zimbabwe, is and was a

party to the New York Convention.” Am. Compl., ¶ 10. The Court should reject their claim and find

that it lacks jurisdiction over Defendants for the following two reasons. First, Zimbabwe was not a

party to the arbitration agreement. Second, neither of Defendants could be deemed to have waived

their immunity from the present action because the New York Convention, the foundation of

Plaintiffs’ implied waiver claim, does not apply to enforcement of a foreign judgment confirming an

arbitration award.

            1. The implied waiver exception does not apply to Zimbabwe because it was not a
               party to the MOUs

        The waiver exception in Section 1605(a)(1) cannot serve as a basis for assuming jurisdiction

against a foreign state that was not a party to the arbitration agreement. See Cargill Int'l S.A. v. M/T

Pavel Dybenko, 991 F.2d 1012, 1017 (2d Cir. 1993) (“an agreement to arbitrate in a foreign country,

without more, ought not to operate as a waiver of sovereign immunity in United States courts,

especially in favor of a non-party to the agreement.”); see also ibid (“[w]hen the case involves an

implied waiver, we think that a court should be even more hesitant to extend the waiver in favor of

third parties.”); Zernicek v. Petroleos Mexicanos (Pemex), 614 F. Supp. 407, 411 (S.D. Tex. 1985),

aff'd sub nom. Zernicek v. Brown & Root, Inc., 826 F.2d 415 (5th Cir. 1987) (citing Maritime Int'l

Nominees Establishment v. Republic of Guinea, 693 F.2d 1094, 1100 n. 10 (“courts rarely find that

a nation has waived its sovereign immunity, particularly with suits brought by third parties, without

strong evidence that this is what the foreign state intended.”). Since Zimbabwe was not a party to the

MOUs this Court lacks jurisdiction over it.




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            2. The implied waiver exception does not extend to either ZMDC or Zimbabwe
               because the New York Convention only applies to enforcement of foreign
               arbitration awards

         Plaintiffs do not allege that ZMDC and Zimbabwe subjectively intended to waive their

immunity from the present action by participating in an arbitration in Zambia—a party to the New

York Convention. 7 To the extent that they are claiming objective intent of waiver, Plaintiffs have

presented no action by these entities that can objectively be seen as an intent to waive immunity.

They submit that Defendants could have foreseen the present action because an action to enforce a

foreign judgment on an arbitral award is “so closely related” to an action to enforce an arbitral award.

Am. Compl., ¶ 10. While these actions are indeed related, “they are nonetheless distinct from one

another,” (Commissions Imp. Exp. S.A. v. Republic of the Congo, 757 F.3d 321, 330 (D.C. Cir. 2014))

“as are the causes of action relating to them.” See ECF No. 38, p. 29. The United States has noted,

and the D.C. Circuit has affirmed that the New York Convention, which is at the core of Plaintiffs’

implied waiver claim, does not govern a “foreign court judgment confirming an arbitral award.”

Commissions Imp. Exp. S.A. v. Republic of the Congo, 757 F.3d 321, 330 (D.C. Cir. 2014) (quoting

Amicus United States Brief, p. 14, Commissions Imp. Exp. S.A, 757 F.3d 321 (D.C. Cir. 2014) (No.

13-7004). This Court has also recently held that US “courts are not required to accord preclusive

effect to foreign judgments in petitions pursuant to the New York Convention.” Blasket Renewable

Invs., LLC v. Kingdom of Spain, No. CV 21-3249 (RJL), 2023 WL 2682013, at *5 (D.D.C. Mar. 29,

2023).

         If Plaintiffs admit, as they must, that the New York Convention does not apply to a foreign

judgment confirming an arbitration award, their implied waiver claim should be rejected. Neither of



7
  This Court has determined that it can exercise jurisdiction over the Commissioner pursuant to the waiver
exception. The Commissioner respectfully disagrees and maintains its right to appeal the decision.

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the state parties to the New York Convention could have foreseen waiving their immunity against

an action to enforce a foreign judgment on an arbitration award by ratifying a convention that does

not apply to such an action. This view is consistent with the Supreme Court’s decision in Argentine

Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 430 (1989) in which it held that “[a] foreign

state cannot waive its immunity under § 1605(a)(1) by signing an international agreement that does

not mention a waiver of immunity to suit in United States courts or even the availability of a cause

of action in the United States.” Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428,

430 (1989).

       Although this Court, as noted in the Order, has previously held that Argentine Republic v.

Amerada Hess Shipping does not preclude a finding of waiver of immunity in actions to enforce an

arbitral award against a foreign state that is a party to the New York Convention, the same cannot be

said here. See Court Order at 2, n.2 (citing Process & Indus. Devs. Ltd. v. Fed. Republic of Nigeria,

506 F. Supp. 3d 1, 9 (D.D.C. 2020) aff’d on other grounds, 27 F.4th 771 (D.C. Cir. 2022)). In Process

& Indus. Devs. Ltd. v. Fed. Republic of Nigeria, this Court found that Nigeria, a party to the New

York Convention, waived its immunity from arbitral award enforcement actions governed under the

Convention because the Convention “contemplates the availability” of such actions in the United

States. Ibid. The Convention requires “each Contracting State [to] recognize arbitral awards as

binding and enforce them in accordance with the rules of procedure of the territory where the award

is relied upon.” Id., at 8 (internal quotation marks omitted). Relying on this obligation imposed on

state parties, the Court held that “Convention signatories presumably know that, under the

Convention, arbitral awards will be judicially enforced if they are ‘rendered in a state party to the

Convention’” Id., at n.4. No such conclusion can be drawn here because State parties to the

Convention are not obliged to enforce a foreign judgment of an arbitration award.



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        C. This Court cannot exercise subject matter jurisdiction under 28 U.S.C. §1605(a)(6)
           because Plaintiffs are not seeking enforcement of an arbitration agreement or an
           arbitration award

        Section 1605(a)(6), known as the “arbitration exception,” is also inapplicable. Under Section

1605(a)(6), a court can exercise subject matter jurisdiction over a foreign state only if “the action is

brought, either to enforce an agreement made by the foreign state…or to confirm an award made

pursuant to such an agreement to arbitrate.” 28 U.S.C. §1605(a)(6) (emphasis added). Since Plaintiffs

are seeking to enforce the Zimbabwe High Court Judgment and not the MOUs containing the

arbitration agreement or the Award, this Court, as it previously noted, cannot assume subject matter

jurisdiction based on Section 1605(a)(6). See ECF No. 38, pp. 28-29.

        D. The Court lacks personal jurisdiction over Defendants because none of the FSIA
           immunity exceptions applies

        A court cannot exercise personal jurisdiction over a foreign state unless one of the immunity

exceptions provided in 28 U.S.C. §§ 1605–07 applies. See TMR Energy Ltd. v. State Prop. Fund of

Ukraine, 411 F.3d 296, 299 (D.C. Cir. 2005) (citing 28 U.S.C. § 1604. As Defendants earlier

explained, none of the immunity exceptions apply so this Court lacks personal jurisdiction over

Defendants. See Section I(B) and (C).

            1. The Court cannot exercise personal jurisdiction over ZMDC because there is no
               allegation that it has minimum contacts with the District

        Because a state’s agencies and instrumentalities are “persons” for the purpose of the Due

Process Clause, a court cannot assume personal jurisdiction over such entities where they lack

minimum contacts with the forum. See ECF No. 38, p. 18 (citing GSS Grp. Ltd v. Nat'l Port Auth.,

680 F.3d 805, 815 (D.C. Cir. 2012)).

        Plaintiffs have neither alleged nor proved that ZMDC has any contact with the District of

Columbia. While they attempt to surpass the minimum contacts requirement by alleging that ZMDC



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is Zimbabwe’s alter ego, they have presented no basis for such a conclusion. There is no allegation

or proof that ZMDC exercised extensive control over Zimbabwe or that it abused Zimbabwe’s

corporate form to commit fraud or injustice.

            2. The Court also cannot assume personal jurisdiction over ZMDC because it was
               not served with the Complaint or Amended Complaint

        Section 1608(b) provides the exclusive methods for serving an agency or instrumentality

of a foreign state. See, e.g., Seramur v. Saudi Arabian Airlines, 934 F. Supp. 48, 51-52 (E.D.N.Y.

1996). Section 1608(b) sets up a “hierarchical regime for the appropriate methods of service,”

requiring that a plaintiff attempt the first method or show its unavailability before moving on to

the next. See, e.g., Estate of Hartwick v. Islamic Republic of Iran, No. 18-cv-1612, 2021 WL

6805391, *8 (D.C.C. Oct. 1, 2021) (identifying a hierarchy in the methods available for service

under § 1608(b)). If there is no special arrangement for service between the foreign state agency

and the plaintiff, and if the agency does not have any person authorized to receive service of

process in the United States, the plaintiff must serve the instrumentality through either one of the

following three methods of service: (i) letter rogatory; (ii) “any form of mail requiring a signed

receipt;” or (iii) “as directed by order of the court consistent with the law of the place where service

is to be made.” 28 U.S.C.A. § 1608(b)(3).

        Plaintiffs have served neither the Complaint nor the Amended Complaint on ZMDC in

accordance with Section 1608(b). On June 10, 2022, they requested the Clerk of this Court to mail

through DHL a copy of the Summons and Complaint to ZMDC “pursuant to…28 U.S.C. §

1608(b)(3)(B).” ECF No. 12. On June 13, 2022, the Clerk certified to have mailed the documents

to ZMDC in accordance with Plaintiffs’ request and attached a DHL receipt of shipment. See ECF

18-3. But Plaintiffs have not filed proof of service. Instead, they filed an affidavit of service on

August 18, 2022, indicating that they effected service on ZMDC by “personally hand delivering”

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the Summons and the Complaint on “Theresa Kanengoni” who allegedly “was a secretary of”

ZMDC. See ECF 24, ¶¶ 2-4 (emphasis added).

          Service through personal delivery is not permitted under Section 1608(b), thus, the Court

cannot exercise personal jurisdiction over ZMDC. See Daly v. Castro Llanes, 30 F. Supp. 2d 407,

416 (S.D.N.Y 1998) (holding that service through personal delivery is incompatible with 28 U.S.C.

§ 1608(b)(3)); McNeil v. United States, 508 U.S. 106, 113 (1993) (quoting Mohasco Corp. v.

Silver, 447 U.S. 807, 826 (1980) (“in the long run, experience teaches that strict adherence to the

procedural requirements specified by the legislature is the best guarantee of evenhanded

administration of the law.”); Baldwin Cnty. Welcome Ctr. v. Brown, 466 U.S. 147, 152, 104 S. Ct.

1723, 1726, 80 L. Ed. 2d 196 (1984) (“Procedural requirements established by Congress for

gaining access to the federal courts are not to be disregarded by courts out of a vague sympathy

for particular litigants.”).

    II.      Plaintiffs have failed to state a claim upon which relief can be granted 8

          This Court has already set forth the applicable standard for reviewing a motion to dismiss

for failure to state a claim. See Court Order at 6-7. In summary, this Court has reiterated the long-

held position that “[t]o survive a motion to dismiss [on the basis of Rule 12(b)(6) motion], a

complaint must have sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Id. This Court has reiterated, however, that “threadbare recitals of the

elements of a cause of action, supported by mere conclusory statements, do not suffice,” nor does

the Court “assume the truth of legal conclusions.” Id.




8
  The Defendants by filing this Motion to Dismiss do not waive any arguments made in the previously
filed Motion to Dismiss (ECF No. 23 and 30), but reserve them based on the text of this Court’s Opinion
issued on March 22, 2023.

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        In deciding a motion for failure to state a claim, courts may only consider the allegations

in the complaint and exhibits. United States ex rel. Jenkins v. Sanford Cap., LLC, No. CV 17-239,

2020 WL 5440551, at *5 (D.D.C. Sept. 10, 2020). Where there is a contradiction between the

allegations in the complaint and the exhibits attached, the exhibit generally controls. See Regan v.

Spicer, HB, LLC, 134 F. Supp. 3d 21, 26 (D.D.C. 2015) (citing 5A Charles Wright & Arthur Miller,

Federal Practice and Procedure: Civil 3d § 1327, 450–451 (3d ed. 2004).

        A.      The Amended Complaint fails to plead facts sufficient to establish an alter ego
                relationship involving Zimbabwe

        While the standard outlined above is more forgiving than that applicable to allegations for

establishing personal and subject-matter jurisdiction, Plaintiffs are still unable to properly allege that

Zimbabwe is ZMDC’s alter ego.

        Under the principal-agent theory of alter ego, Plaintiffs have failed to allege any facts that

support a finding that the government controls ZMDC’s day-to-day operations. The allegations as to

the Minister’s power largely rest on the government’s power as a regulator and shareholder. See Am.

Compl. at ¶¶ xx. To the extent that the allegations purport that the Minister may override the Board’s

decisions, those allegations are contradicted by the cited articles of the ZMDC Act. See ZMDC Act,

Section 22. The Minister’s approval power, as explained above, is limited only to certain types of

transactions and Plaintiffs have not shown that the Board is failing to oversee the operations of

ZMDC. To the extent that Plaintiffs allege that ZMDC was operated without a Board, that allegation

is contradicted by Plaintiffs’ other allegations concerning the Board’s composition and should be

disregarded. Plaintiffs’ allegations concerning the government’s transfer or sale of assets or payment

of loans fall outside of the relevant period established by this Court in its March Order and therefore

are insufficient to support a claim of alter ego. Plaintiffs’ reliance on the OFAC Press Release

provides nothing more than a conclusory allegation that Zimbabwe used entities, including ZMDC,

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to “illegally siphon revenue and foreign exchange” without specifying anything further, including

the relevant period to which those acts occurred making it difficult for the Court to determine whether

those allegations are relevant to the alter ego analysis here. As to Plaintiffs’ remaining allegations,

the Defendants, for the sake of efficiency, refer the Court to their arguments above concerning those

allegations.

        The alleged facts are also insufficient to establish alter ego under the fraud or injustice theory.

In its Order, this Court held that the allegation that Zimbabwe “may” transfer ZMDC’s assets to

another state-owned company is inadequate to establish alter ego under the fraud or injustice theory.

See ECF No. 38, p. 12, n. 4. While Plaintiffs restate this allegation in their Amended Complaint, they

have presented nothing to persuade the Court to reach a different conclusion. To the contrary, the

additional news article submitted by Plaintiffs further casts doubt as to whether such transfer even

took place as it notes that ZMDC fiercely resisted the alleged plan. See Am. Compl., ECF No. 40-

11, p.3., pp. 5-6.

        The allegations that Zimbabwe used ZMDC’s assets and directed it to conclude an agreement

with local and foreign companies are also insufficient to establish the second element of alter ego

because there is no indication that Zimbabwe took the alleged actions to commit fraud or injustice.

See Motion to Dismiss, pp. 20-22. The Court should also reject the allegations because they are

contradicted by the appended news articles which the Court must defer to in cases of conflicts

between the allegations in the complaint and the exhibits. See ibid.

        Lastly, Plaintiffs also allege without any supporting facts that the Commissioner is an alter

ego of Zimbabwe. See Am. Compl. ¶ 16. Without any supporting facts, this Court should find that

any claim as to the existence of an alter-ego relationship between the Commissioner and Zimbabwe

fails and should be dismissed.



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                                          CONCLUSION

       For the foregoing reasons, Zimbabwe, the Commissioner, and ZMDC request that the Court

grant the Motion to Dismiss and whatever additional relief the Court considers just and proper.

                                                             Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 6, 2023, I electronically filed this document with the Clerk of

the Court of the U.S. District Court of the District of Columbia by using the CM/ECF system, which

will automatically generate and serve notices of this filing to all counsel off record. I further certify

that I am unaware of any parties who will not receive such notice.



                                                By: /s/ Quinn Smith
                                                Quinn Smith




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